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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                               :
                                                                         :
                   v.                                                    :
                                                                         :   ORDER
 PPASSIM ELDER and WILBERT BRYANT,                                       :   18-CR-92 (WFK)
                                                                         :
                            Defendants.                                  :
 ------------------------------------------------------------------------X
 WILLIAM F. KUNTZ, II, United States District Judge:

         The Constitution accords defendants many a right: the right to infect 16 innocent jurors

 with COVID-19, however, is not among them.

                                                               SO ORDERED.

                                                                        s/ WFK
                                                               ____________________________
                                                               HON. WILLIAM F. KUNTZ, II
                                                               UNITED STATES DISTRICT JUDGE

 Dated: September 3, 2021
        Brooklyn, New York
